Parker v. Equifax Information Services, LLC, Not Reported in Fed. Supp. (2017)




                                                              Parker tried to buy a vehicle from Suburban Cadillac
                2017 WL 4003437                               Buick, an auto dealership for which Wilson Tech provides
  Only the Westlaw citation is currently available.           “technical and retail support,” identity-verification
   United States District Court, E.D. Michigan,               services, and retail and sales management. ECF 25-2 ¶¶ 8–
                Southern Division.                            9, 17. She received a copy of her “credit report”1 from
                                                              Equifax—a consumer reporting agency—and discovered
           Linda PARKER, Plaintiff,                           that Wilson Tech “made two inquiries” about her credit
                      v.                                      without her permission. Id. ¶ 11–12. Wilson Tech denied
    EQUIFAX INFORMATION SERVICES, LLC,                        that it accessed the report, and stated that the dealership
                  Defendant.                                  verified Parker’s identity using Wilson Tech’s “automated
                                                              system.” Id. ¶ 15–16.
                 Case No. 2:15-cv-14365
                            |                                 Parker asserts by implication that the “automated system”
                   Signed 09/12/2017                          utilized two Equifax products: (1) a subscription to
                                                              “eIDcompare,” a tool that verifies personal information for
                                                              legal and regulatory compliance, and generates alerts for
Attorneys and Law Firms                                       possible instances of identity theft; and (2) a subscription
                                                              to “[Office of Foreign Assets Control (OFAC) ] Alert
Michael J. Bonvolanta, Sylvia Bolos, Ian B. Lyngklip,         Services,” which verifies consumers by automatically
Lyngklip Assoc. Consumer Law Center, PLC, Southfield,         screening new and existing accounts, cross-checking its
MI, for Plaintiff.                                            database when a credit report is requested, and issuing a
                                                              notice that the data was verified against the database. Id. ¶¶
Jordan S. Bolton, Clark Hill, Detroit, MI, Meryl W. Roper,
                                                              30–31. The eIDcompare product, in particular, receives
Zachary McEntyre, King and Spalding LLP, Atlanta, GA,
                                                              from its subscribers data packets that include fields for a
for Defendant.
                                                              consumer’s name, phone number, social security number,
                                                              date of birth, driver’s license, current address, and time
                                                              spent at that address. Id. ¶¶ 23–24. Parker alleges that
                                                              Wilson Tech purchased the eIDcompare and OFAC Alert
                                                              Services “in relation to [her] and a class of all other persons
                                                              similarly situated.” Id. ¶ 26.


 OPINION AND ORDER DENYING MOTION FOR
  LEAVE TO FILE AMENDED COMPLAINT [25]


STEPHEN J. MURPHY, III, United States District Judge                             LEGAL STANDARD

*1 Plaintiff Linda Parker filed a proposed class complaint    *2 Pursuant to Federal Rule of Civil Procedure 15(a)(2), a
against Defendants Equifax Information Services, LLC          court should “freely give leave” for a party to file an
and Wilson Technologies, Inc. for alleged willful             amended complaint “when justice so requires.” District
violations of the Fair Credit Reporting Act (FCRA),    15     courts can, however, deny a motion for leave to amend on
U.S.C. § 1681 et seq. Parker voluntarily dismissed her        the basis of “undue delay, bad faith or dilatory motive ...
claims against Wilson Tech, and has moved for leave to        [or] futility of amendment.”        Prater v. Ohio Educ.
amend her complaint. The Court held a hearing on              Ass’n, 505 F.3d 437, 445 (6th Cir. 2007) (quoting
February 7, 2017.                                             Foman v. Davis, 371 U.S. 178, 182 (1962)). “Amending
                                                              would be futile if a proposed amendment would not survive
                                                              a motion to dismiss.”      SFS Check, LLC v. First Bank of
                                                              Delaware, 774 F.3d 351, 355 (6th Cir. 2014). Accordingly,
                                                              the proposed amended pleading must “raise a right to relief
                                                              above the speculative level” and “state a claim to relief that
                   BACKGROUND                                 is plausible on its face.”   Hensley Mfg. v. ProPride, Inc.,

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              Case 1:19-cv-00015-WCG Filed 03/11/19 Page 1 of 5 Document 17-4
Parker v. Equifax Information Services, LLC, Not Reported in Fed. Supp. (2017)



579 F.3d 603, 609 (6th Cir. 2009) (quoting     Bell Atl.        could provide significant biographical information about
Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007)).               consumers, and Parker further alleges the general features
                                                                and capabilities of the products. See ECF 25-2 ¶ 24, ¶¶ 30–
                                                                33 (listing the products’ various capabilities). She claims
                                                                that Wilson Tech has a customer ID from Equifax for both
                                                                products, used eIDcompare to verify consumers for its
                                                                subscribers, and purchased both products from Equifax “in
                                                                relation to [Parker] and a class of all other persons similarly
                      DISCUSSION                                situated.” Id. ¶¶ 25–29. But Parker does not allege that
                                                                Equifax produced specific information about Parker to
In the proposed amended class complaint, Parker has             Wilson Tech. Parker simply alleges that “Equifax provided
abandoned her claim against Wilson Tech and added a             Wilson Tech[ ] with header data, yet Equifax disclosed to
claim against Equifax under    § 1681g(a), which requires       Ms. Parker and the class members that it had disclosed a
a consumer reporting agency to provide to consumers clear       consumer report.” Id. ¶ 59.
and accurate consumer disclosures. ECF 25-2, PgID 102–
03. Parker argues that the amendment accounts for two           The allegation that Wilson Tech purchased the products “in
possible alternatives:                                          relation to” Parker and her proposed class fails to allege
                                                                willful, impermissible conduct.      Safeco Ins. Co. of Am.
     (1) Equifax provided a consumer report and disclosed       v. Burr, 551 U.S. 47, 68 (2007) (noting that willful action
     the middle-man (Wilson Tech) but failed to disclose        entails “an unjustifiably high risk of harm that is either
     the end-user as required by          15 U.S.C. §           known or so obvious that it should be known”). Parker
     1681g(a)(3); or                                            submits general allegations about the capabilities of
                                                                Equifax’s products and Wilson Tech’s status as a
     (2) Equifax provided a false consumer disclosure to        subscriber, but she falls short of plausibly claiming that
     Plaintiff by disclosing that a consumer report was         “Wilson Tech actually used eIDcompare to do anything
     provided to Wilson Tech when it was not, in violation      with respect to her except obtain her ‘header’ information
     of     § 1681[g](a).                                       for the purpose of verifying her identity.” See ECF 28 PgID
                                                                146–47 (emphasis omitted). In other words, Parker failed
ECF 31, PgID 183. Parker seeks further discovery to             to identify the necessary connection between the products’
“ascertain exactly what information was reported and to         general capabilities and the specific manner in which they
whom, if at all,” because without the information she           were used here.
“cannot reasonably determine which of the two possible
alternatives is at play.” Id. at 184. Equifax, on the other     *3 Even assuming that Parker alleged Equifax had
hand, maintains the amendment is futile and unjustly            provided all the personal information that eIDcompare had
prejudicial.                                                    the capacity to exchange, see ECF 25-2 ¶ 24, and that
                                                                Wilson Tech actually used it, Parker’s proposed amended
                                                                complaint did not allege that providing the information
                                                                constituted a consumer report. To trigger the disclosure-
                                                                identification requirements of      § 1681g(a)(3), Parker
                                                                must allege that Equifax provided a consumer report to
I.    15 U.S.C. § 1681g(a)(3): “Reporting” Claims               Wilson Tech. Parker, however, does not allege facts
Parker’s proposed amended complaint alleges that Equifax        sufficient to raise her claim to relief above simple
violated       § 1681g(a)(3). That section requires a           speculation that Equifax provided Wilson Tech with a
consumer reporting agency to “disclose to the consumer ...      consumer report.
[i]dentification of each person (including each end-user
identified under section 1681e(e)(1) of this title) that        The accumulation of biographical information from
procured a consumer report—(i) for employment purposes,         Equifax’s products does not constitute a consumer report
during the 2-year period preceding the date on which the        because the information does not bear on Parker’s credit
request is made; or (ii) for any other purpose, during the 1-   worthiness. The Sixth Circuit acknowledged that “header
year period preceding the date on which the request is          information” does not qualify as a consumer report, but that
made.”                                                          court has not expressly defined what the content of header
                                                                information may be.     Bickley v. Dish Network, LLC, 751
Parker alleges that the Equifax products to which Wilson        F.3d 724, 729 (6th Cir. 2014). While the Sixth Circuit did
Tech subscribed, eIDcompare and OFAC Alert Services,            not define header detail in Bickley, the term must refer to
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              Case 1:19-cv-00015-WCG Filed 03/11/19 Page 2 of 5 Document 17-4
Parker v. Equifax Information Services, LLC, Not Reported in Fed. Supp. (2017)



biographical information. Few courts expressly define             for “a plaintiff armed with nothing more than conclusions.”
“header data”, but the concept certainly includes some                Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009). And
combination of name (and aliases), address, change in             Parker “cannot use discovery to obtain specific facts
address, date of birth, phone number, and social security         necessary to craft” a plausible proposed amended
number. See e.g. Thompson v. Equifax Credit Information           complaint, “even when the information needed to establish
Serv., Inc., No. 00–D–1468, 2001 WL 34142847, at *1–*2            a claim ... is solely within the purview of the defendant or
(M.D. Ala. Dec. 14, 2001);          Dotzler v. Perot, 914         a third party.”      Life For Relief & Dev. v. Charter One
F.Supp. 328 (E.D. Mo. 1996), aff’d without opinion,               Bank, N.A., No. 12-CV-13550, 2013 WL 3810255, at *3
124 F.3d 207 (8th Cir. 1997);        Trans Union Corp. v.         (E.D. Mich. July 23, 2013) (quoting            New Albany
F.T.C., 81 F.3d 228 (D.C. Cir. 1996). The data at issue here      Tractor, Inc. v. Louisville Tractor, Inc., 650 F.3d 1046,
reflects biographical information generally recognized as         1051 (6th Cir. 2011)).
header data and, thus, is not a consumer report.
                                                                  Parker has failed to plead in her proposed amended
A report that conveys a consumer’s “Echostar Risk                 complaint “enough facts to state a claim to relief that is
number”—generated based on the number of consumer-                plausible on its face” under      section 1681g(a)(3).
initiated credit inquiries during a 12-month period—is a          Twombly, 550 U.S. at 555, 570. Attempts to “proceed to
consumer report.         Bickley, 751 F.3d at 729. By             discovery simply by making bare allegations that the
inference, therefore, any information that displays a score       defendants violated the law,”       16630 Southfield Ltd.
communicating a consumer’s credit worthiness must not be          P’ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 504 (6th Cir.
merely header data. Id. And Federal Trade Commission
guidance supports that inference. See Commentary on the           2013) (citing    Iqbal, 556 U.S. at 695), are not sufficient.
Fair Credit Reporting Act, 16 C.F.R. Part 600 App.at 548          The motion as to the reporting claims must be denied.
(1990) (noting that information bearing on at least one of
the seven characteristics listed in the statutory definition,
    15 U.S.C. § 1681a(d)(1), is necessary to qualify a
disclosure as a consumer report).2
                                                                  II.    15 U.S.C. § 1681g: “Disclosure” Claims
Here, Parker alleges that Equifax’s products allow                Parker’s proposed amended complaint includes an
companies like Wilson Tech to obtain substantial amounts          alternative claim that Equifax failed to provide a clear and
of biographical information. And depending on context,
header data may well function effectively as a consumer           accurate disclosure under          15 U.S.C. § 1681g(a)(1).
report. For example, if a consumer reporting agency groups        That section provides, in pertinent part, that “[e]very
the header data based on particular credit-related criteria,      consumer reporting agency shall, upon request, ... clearly
the dissemination of that data may constitute a consumer          and accurately disclose to the consumer [a]ll information
report. See      Trans Union Corp. v. F.T.C., 81 F.3d 228,        in the consumer’s file at the time of the request.”         15
229–30 (D.C. Cir. 1996) (noting that Trans Union “used            U.S.C. § 1681g(a)(1) (emphasis added). A legal standard
special criteria to cull [names and addresses] from its           for assessing the type of claim alleged here has not been
database” allowing any buyer of the data to know “that the        developed by the Sixth Circuit and the Plaintiff does not
persons named satisfy the specified criteria”). But Parker        offer a standard by which the Court may review whether a
does not allege that Equifax communicated a score similar         disclosure was “clear and accurate” within the meaning of
to an “Echostar Risk number” to Wilson Tech or otherwise              § 1681g. ECF 31, PgID 184–85.3 Parker has therefore
organized the information by criteria bearing upon the            failed to allege sufficient facts to raise her claim above the
seven statutory characteristics of a consumer report. The         speculative level because Equifax clearly and accurately
proposed amended complaint is bereft of any of those types        disclosed the information contained in Parker’s credit file
of allegations. And the allegations therefore fail to raise her   within the meaning of        § 1681g.
right to relief “above the speculative level”,      Twombly,
550 U.S. at 555. The amendment in this regard is futile.          Parker does not allege that the disclosure failed to clearly
                                                                  and accurately provide her with all the information that
*4 Parker seeks discovery to determine facts about her two        Equifax had in her file. Rather, Parker alleges that the
proposed scenarios and to “ascertain exactly what                 credit report contained misinformation and constituted a
information was reported and to whom, if at all.” ECF 31,         “false disclosure.” ECF 31, PgID 184. While neither party
PgID184. But the “doors” of discovery are not “unlocked”          disputes the completeness of the credit report that Equifax
                                                                  provided to Parker, the statutory language regarding
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               Case 1:19-cv-00015-WCG Filed 03/11/19 Page 3 of 5 Document 17-4
Parker v. Equifax Information Services, LLC, Not Reported in Fed. Supp. (2017)



accurate disclosures does not require a consumer reporting                      files and to challenge any potential errors. Equifax’s credit
agency to produce or maintain credit reports that are free                      report here allowed Parker to dispute the information set
from error. The statutory requirement that the disclosure                       forth in her file. And the credit report therefore complied
“accurately” reflect “[a]ll information in the consumer’s                       with the FCRA.
file at the time of the request” merely prohibits the
consumer reporting agency from manipulating information                         Because Equifax “clearly and accurately disclose[d]” to
in a consumer’s credit report. Finding otherwise could                          Parker “[a]ll information in the consumer’s file at the time
transform the FCRA into a strict liability statute. And when                    of the request,” Equifax complied with the FCRA as a
interpreting other provisions of the FCRA, the Sixth                            matter of law and Parker’s proposed amended complaint
Circuit has rejected the idea of reading the statute so                         would be futile. Parker has not stated a claim upon which
strictly. See     Nelski v. Trans Union, LLC, 86 Fed.Appx.                      relief may be granted.
840, 844 (6th Cir. 2004) (“[T]he FCRA does not impose
strict liability for incorrect information appearing on an
agency’s credit reports.”). Moreover, the FCRA provides a
distinct remedy for inaccurate reports; from that fact, it
may be inferred that Congress did not intend to impose
upon consumer reporting agencies a requirement of error-                                                     ORDER
free credit reports. See     15 U.S.C. § 1681e.
                                                                                WHEREFORE, it is hereby ORDERED that Plainitff’s
*5 Second, the disclosure here was clear. Parker                                Motion for Leave to Amend Complaint [25] is DENIED.
successfully requested disclosure of her credit report,
received all information that Equifax maintained in her file,                   SO ORDERED.
and, upon review of the credit report, made the
determination that there were alleged inquiries into her
credit that she did not recognize. The clarity requirement                      All Citations
for disclosures to consumers does not require error-free
credit reports, but does require that the credit report be clear                Not Reported in Fed. Supp., 2017 WL 4003437
enough for a consumer to compare the report to her own                           
Footnotes 
 
1       Equifax  has  addressed  Parker’s  references  to  her  “credit  report”  and  Wilson  Tech’s  “inquiries”  to  underscore  a  preference  for 
     
        statutorily  defined  terms  over  colloquial  ones. Equifax  argues—and  the  Court  will  presume—that  Parker  claims  she  received  a
 
        consumer disclosure from Equifax,          15 U.S.C. § 1681g(a)(1), and that Wilson Tech obtained a consumer report about Parker
        from Equifax,        15 U.S.C. § 1681a(d)(1). See ECF 25‐2 ¶ 20 (alleging that Equifax “provided a consumer report” to Wilson Tech),
        ¶  37  (defining  class  as  persons  to  whom  Equifax  “issued  consumer  disclosures”  after  Wilson  Tech  accessed  their  “consumer
        reports”). Indeed, the statutorily defined term “consumer report” has legal significance, so courts must “look at the contents of 
        the  reports  themselves  to  assess  whether  they  reach  the  threshold  established  in  15  U.S.C.  §  1681a(d)(1),  rather  than 
        determining in a conclusory manner that something is a ‘consumer report’ based upon the parties’ idiosyncratic and self‐serving 
        nomenclature.”      Bickley v. Dish Network, LLC, 751 F.3d 724, 729 n.4 (6th Cir. 2014). 
         
2       In 2011, the FTC rescinded all of its guidance interpreting the FCRA because the Consumer Financial Protection Bureau (“CFPB”)
     
        assumed  agency  responsibility  for  the  statute.  The  CFPB,  however,  has  not  issued  guidance  related  to  the  disputed  statutory
        portions of the FCRA. 
         
3
        Only the Seventh Circuit has addressed the “clearly and accurate language set forth in          § 1681g.” See     Gillespie v. Equifax 
        Info. Serv., LLC, 484 F.3d 938, 941 (7th Cir. 2007). In a persuasive, but non‐binding, that court determined that a “primary purpose
        of the [FCRA’s] statutory scheme” in the section “is to allow consumers to identify inaccurate information in their credit files and
        correct this information....”   Gillespie, 484 F.3d at 941. The court explained that clear and accurate disclosures must “make an 
        accurate disclosure of the information in the consumer’s credit file” and make the disclosure in “a manner sufficient to allow the 
        consumer ... to determine the accuracy of the information set forth in [the] credit file.” Id. 
         


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                Case 1:19-cv-00015-WCG Filed 03/11/19 Page 4 of 5 Document 17-4
Parker v. Equifax Information Services, LLC, Not Reported in Fed. Supp. (2017)




 
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                  Case 1:19-cv-00015-WCG Filed 03/11/19 Page 5 of 5 Document 17-4
